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STATE OF NEW YORK
OFFICE OF THE ATTORNEY GENERAL

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July 18, 2018
By ECF and Email
Honorable Katherine Poll< Failla
United States District Judge
Southern District of New York
40 Foley Square, Roorn 2103
NeW York, New York 10007
Failla NYSDChambers@nvsd.uscourts.gov

Re: Kaplan v. NYS Dep ’t ofLabor,
No. 18 Civ. 3629 (KPF)

Dear Judge Failla:

This Offrce represents the New York State Department of Labor (“DOL”) and
Cornrnissioner Roberta Reardon (collectively, “State Defendants”? in this civil action brought by
Plaintiff Fredy Kaplan (“Plaintiff”), a terminated DOL employee. The Complaint, filed on April
24, 2018 (ECF No. 1), attempts to set forth claims of employment discrimination and retaliation
under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.; the New York State
Human Rights Law, N.Y. Exec. Law § 296 et seq. (the “NYSHRL”); and the New York City
Human Rights Law, N.Y.C. Admin. Code § 8-107 er seq. (the “NYCHRL”).

We Write pursuant to Your Honor’s Individual Rules of Practice in Civil Cases to request
a pre-motion conference concerning the State Defendants’ anticipated motion to dismiss the
action, in part, for lack of subject matter jurisdiction and failure to state a claim on Which relief
can be granted. Fed. R. Civ. P. lZ(b)(l) & lZ(b)(G).

Background

The Complaint alleges that Plaintiff Worked as an attorney for DOL from March 2015 to
October 2017. Compl. ‘|]‘|1 24 & 42. Plaintiff supervised the work of three “junior associates,”
including a junior attorney who allegedly harassed his peers and made anti-Semitic comments
regarding Plaintiff, Who is Jewish. Compl. 1[1[ 28-30. Plaintiff advised his supervisor of the junior
attorney’s conduct, which prompted the filing of an administrative complaint and an internal
investigation by DOL’s “Human Resources” division. Compl. 1111 32-33.

 

1 DOL and Commissioner Reardon are the only named defendants who have been served to date. The remaining
three defendants are current or fenner DOL officials If any of these defendants is served and requests representation
by the Office of the Attomey General, we will so advise the Court.

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Subsequently, DOL investigated Whether Plaintiff had “fabricated” his allegations against
the junior attorney. Compl. 1111 38~39. DOL’s principal investigator determined that during a
meeting With his supervisor, Plaintiff “conf`essed that he had fabricated all the allegations in an
effort to have [the junior attorney] terminated.” Compl. 11 39. In the Complaint, Plaintiff denies
having fabricated the allegations Id. Nevertheless, on October 10, 2017, Plaintiff Was given the
choice of resigning his position or being terminated Compl. 11 41. Plaintiff refused to resign, and
DOL terminated his employment on or after October 16, 2017. Compl. 11 42.2

Plaintiff alleges that he “was discriminated against because cf his religious beliefs and
was terminated in retaliation for his lawlill complaints of discrimination.” Compl. 11 43. In
relevant part, the Complaint purports to set forth six claims:

o Religious discrimination in the form of a hostile work environment, in violation
of Title VII (Claim 1), the NYSHRL (Clairn 11), and the NYCHRL (Claim III).

0 Retaliation, resulting in Plaintiff' s termination, in violation of Title VII (Claim
IV), the NYSHRL (Claim V), and the NYCHRL (Claim Vl).

The Complaint names three other current and former DOL officials as defendants “in
their individual capacities as aiders and abettors.” Compl. at l, Caption; id. 1111 17, 19 & 21. By
contrast, Commissioner Reardon is sued in her official capacity “as Commissioner” of DOL.
Compl. at l, Caption; id. 1111 1 & 13-15. The Complaint seeks compensatory and punitive
damages and an order enjoining DOL’s purportedly “illegal and unlawful customs, policies, and
practices described herein.” Compl. at 14.

Sovel'eign Immunitv Bz_\rs Plgintiff’s NYSHRL and NYCHRL Claims

The doctrine of sovereign immunity precludes Plaintiff" s NYSHRL and NYCHRL claims
against DOL and Commissioner Reardon. “The Eleventh Amendment bars suits against state
agencies unless the state waives its sovereign immunity or it is validly abrogated by Congress.”
Quadir v. N.Y.S. Dep ’t ofLabor, 39 F. Supp. 3d 528, 536 (S.D.N.Y. 2014) (citing Regents ofrhe
Um`v. ofCal.§fornia v. Doe, 519 U.S. 425, 429-31 (1997)). This immunity from suit also extends
to state officials Who are sued in their official capacity. Sanchez v. Cin of N. Y., No. 15 Civ. 9940
(PKC), 2017 WL 3381892, at *2 (S.D.N.Y. Aug. 4, 2017) (citing Kentucky v. Graham, 473 U.S.
159, 169 (1985)), a]jf’d, No. 17-2796-CV, 2018 WL 2670561 (2d Cir. June 5, 2018).

“New York State has neither Waived, ncr has Congress abrogated, [its] immunity with
respect to claims arising from the NYSHRL, or [N]YCHRL - the very claims that constitute
the instant Complaint.” Watson v. N.Y.S. Dep’t ofMoror Vehicles, No. 16 Civ. 7532 (RWS),
2017 WL 2377991, at *l (S.D.N.Y. May 31, 2017). Accord Baez v. New York, 629 F. App’x
116, 118 (2d Cir. 2015); Quadir, 39 F. Supp. 3d at 537. Thus, the Eleventh Amendment bars
federal court jurisdiction over Plaintiff’s NYSHRL claims

Similarly, the Eleventh Amendment bars federal court jurisdiction over NYCHRL claims
New York City “does not have the power to abrogate the immunity of the state, and we have
found no evidence that the state has consented to suit in federal court under the NYCHRL.”
Quadir, 39 F. Supp. 3d at 538 (quoting Feingold v. New York, 366 F.3d 138, 149 (2d Cir. 2004)).

 

2 F or purposes of this letter only, State Defendants assume, without conceding, the truth of the well-pleaded factual
allegations of the Complaint, but not its legal conclusions State Defendants reserve the right to rely on all facts that
the Court is entitled to consider on a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(l) and 12(b)(6).

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Applying these principles, Courts have held that the DOL and its officials, sued in their
official capacity, are immune from suit in federal court alleging violations of both the State and
City human rights laws See, e.g., Goonewardena v. N.Y.S. Workers’ Comp. Bai., No. 09 Civ.
8244 (LTS) (HBP), 2011 WL 4822553, at *4 (S.D.N.Y. Oct. 5, 2011) (citations omitted).

Accordingly, the Complaint’s Second, Third, Fifth, and Sixth Claims should be
dismissed, With prejudice, for lack of federal jurisdiction See Fed. R. Civ. P. l2(b)(1); Sanchez,
2017 WL 3381892, at *2.

'I`he Complaint Fails To State A Claim Against Commissioner Reardo_n

Separate and apart from its jurisdictional defects, the Complaint fails to state any claim
against Commissioner Reardon on which relief can be granted. Thus, the Complaint should be
dismissed in its entirety, with prejudice, against her. Fed. R. Civ. P. 12(b)(6).

Plaintiff’s Title VII claims against Commissioner Reardon fail as a matter of law because
“Title VII does not permit claims against defendants in their official capacities.” Brunson-Bedi v.
New York, No. 15 Civ. 9790 (NSR), 2018 WL 2084171, at *10 (S.D.N.Y. May 1, 2018) (citing
Percy v. New York, 264 F. Supp. 3d 574, 595 (S.D.N.Y. 2017) (collecting cases). See also
Mussallihattillah v. McGz`nnis, 684 F. App’x 43, 47 (2d Cir. 2017) (“[l]ndividuals are not subject
to liability under Title VII.”). Thus, “there are no circumstances under Which Plaintiff’ s Title
VII claims against [Reardon] can stand.” Brunson-Bedi, 2018 WL 2084171, at *10.

Moreover, Plaintiff’s NYSHRL and NYCHRL claims against Commissioner Reardon fail
because the Complaint does not allege that she engaged in any actionable conduct. “[I]ndividual
liability under both the NYSHRL and the NYCHRL attaches only where a defendant “actually
participates in the conduct giving rise to [the] discrimination.”” Farzan v. Wells Fargo Bank,
N.A., No. 12 Civ. 1217 (RJS), 2013 WL 2641643, at *4 (S.D.N.Y. June ll, 2013) (quoting
Schanfield v. Sojitz Corp. ofAm., 663 F. Supp. 2d 305, 344 (S.D.N.Y. 2009) (quoting Fez'ngold v.
New York, 366 F.3d at 157)). Here, the Complaint merely alleges that Commissioner Reardon is
the “appointed Commissioner” who “oversaw the day~to-day operations and management of the
DOL at all times relevant herein.” Compl. 1111 13-14. There is no allegation that she actually
participated in any discrimination or retaliation against Plaintiff.

In sum, the Complaint Should be dismissed in its entirety, With prejudice, against
Commissioner Reardon, and Plaintiff"s NYSHRL and NYCHRL claims should be dismissed,
with prejudice, against both DOL and Commissioner Reardon.

In light of the foregoing, we respectlillly request a conference to set a briefing schedule
for Defendants’ proposed motion to dismiss the Complaint, in part.

Respectfully submitted,

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Michael . Berg
Assistant Attorney General

cc: Saul D. Zabell, Esq.

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